USDC IN/ND case 2:15-cr-00072-PPS-APR           document 412       filed 09/12/16    page 1 of 4


                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
               Plaintiff,                   )
                                            )
        v.                                  )      Cause No. 2:15-cr-72
                                            )
 PETER SALINAS,                             )
                                            )
               Defendant.                   )

                                    OPINION & ORDER

        Defendant Peter Salinas has moved for review of a detention order entered by

 Magistrate Judge Andrew Rodovich on August 3, 2016. (DE 356.) He is charged in the

 second superseding indictment with conspiracy to participate in a racketeering activity

 in violation of 18 U.S.C. § 1962(d) and conspiracy to possess with intent to distribute

 cocaine and marijuana in violation of 21 U.S.C. § 846. I held a hearing on the motion,

 reviewed the indictment and the pretrial services bond report and listened to an audio

 recording of the original detention hearing. The parties then proffered additional

 information to me at the hearing. This order sets out and supplements the findings of

 fact and rulings I made on the record at the hearing before denying the motion.

        Salinas is charged with two offenses that have a maximum penalty of life

 imprisonment. As a result, there is a rebuttable presumption that he poses a danger to

 the community and a flight risk and, therefore, should be detained. See 18 U.S.C.

 § 3142(e)(3)(A). At the hearing on the instant motion, the government conceded that

 Salinas is not a flight risk, so he must present sufficient evidence to rebut the
USDC IN/ND case 2:15-cr-00072-PPS-APR             document 412    filed 09/12/16    page 2 of 4


 presumption that he is a danger to the community. He has failed to do that.

        Section 3142(g) sets out four factors to consider in deciding whether there are

 conditions that would ensure the community’s safety or whether a defendant instead

 must be detained. 18 U.S.C. 3142(g). Although Salinas argued in his motion “none of the

 four factors weigh[] heavily against him[,]” he marshaled little or no evidence in his

 papers or in court that any of these factors weigh in favor of release. (See DE 387 at 3.)

        The first factor is the nature and circumstances of the offense Salinas is charged

 with committing, including whether it is a crime of violence or involves narcotics. See

 18 U.S.C. § 3142(g)(1). Salinas is charged with a conspiracy to participate in a

 racketeering activity, namely the Latin Kings nation, which has a long history of

 violence and narcotics activity. In addition, he is charged with conspiracy to distribute

 cocaine and marijuana, so the first factor weighs in favor of detention.

        The second factor is the weight of the government’s evidence against Salinas.

 18 U.S.C. § 3142(g)(2). The government proffered that at least four witnesses would

 testify that Salinas was a regional “enforcer” and a relatively high ranking member of

 the Latin Kings street gang. The government proffered evidence that, in his leadership

 role, Salinas ordered lower level gang members to mete out “violations” or physical

 beatings to gang members who had broken gang rules and that Salinas personally

 supervised those beatings. Salinas has pointed to no evidence that would rebut the

 government’s evidence, and he even admits that he is a Latin King member and was an

 enforcer for a period of time earlier this year. While the four witnesses relied upon by


                                              2
USDC IN/ND case 2:15-cr-00072-PPS-APR             document 412    filed 09/12/16    page 3 of 4


 the government are cooperating codefendants who plainly have an interest in currying

 favor with the government, the fact that there are four of them makes all the difference.

 One cooperating defendant might stretch things to fit the government narrative, but the

 likelihood that four or them would make up the same exact story—that Salinas is the

 regional enforcer of the Latin King Nation—seems remote. As a result, the second factor

 —the weight of the evidence against the defendant—also weighs strongly in favor of

 detention.

        The third factor is Salinas’s character, physical and mental condition, family ties,

 employment situation, financial resources, length of residence in the community,

 community ties, and criminal history. 18 U.S.C. § 3142(g)(3). To his credit, Salinas

 appears to be a hard worker and has strong family ties. His fiancee testified at the

 original detention hearing that he works two jobs to help support their three daughters.

 On the other hand, he has a lengthy criminal history—a panoply of arrests spanning

 fifteen years, including for retail theft, aggravated assault, reckless conduct, and drug

 possession. It’s a somewhat closer call, but I believe the third factor weighs in favor of

 detention.

        The fourth factor is the nature and seriousness of the danger to any person or the

 community posed by his release. 18 U.S.C. § 3142(g)(4). Salinas admits that he has an

 ongoing affiliation with the Latin Kings, which has a long history of retaliatory and

 other violence, including murder. This factor weighs in favor of detention.

        I have examined the factors in 18 U.S.C. § 3142(g) and find by clear and


                                              3
USDC IN/ND case 2:15-cr-00072-PPS-APR          document 412   filed 09/12/16   page 4 of 4


 convincing evidence that no condition or combination of conditions would reasonably

 ensure the safety of the community. Accordingly, Salinas’s Motion for Reconsideration

 of Detention Order (DE 356) is DENIED.

       SO ORDERED.

       ENTERED: September 12, 2016.

                                        s/ Philip P. Simon
                                        CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT




                                           4
